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                             Exhibit 17
       State of California ex. rel. Ven-A-Care of the Florida Keys, Inc. v.
                         Abbott Laboratories, Inc., et al.

            Exhibit to the Declaration of Nicholas N. Paul in Support of
Plaintiffs’ Opposition to Defendants’ Joint Motion for Partial Summary Judgment
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                                                                               Page 1
                 UNITED STATES DISTRICT COURT

                 DISTRICT OF MASSACHUSETTS

    -----------------------------X

    IN RE PHARMACEUTICAL INDUSTRY

    AVERAGE WHOLESALE PRICE

    LITIGATION

    -----------------------------X MDL No. 1456

    THIS DOCUMENT RELATES TO:        Civil Action:

    State of California, ex rel.     01-12257-PBS

    Ven-A-Care v. Abbott

    Laboratories, Inc., et al.,

    -----------------------------X



                    TUESDAY, MAY 19, 2009

                           --o0o--

                    VIDEOTAPED DEPOSITION OF

                      STANLEY ROSENSTEIN

                           --o0o--



    Ref. No. 6620

    Reported By:    CAROL NYGARD DROBNY, CSR No. 4018

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                                                                           Page 171
  1
      in this report; correct?
  2
               A.     Yes.
  3
                      I mean, it -- this may have been
  4
      prepared slightly before it was passed, but it was
  5
      on the way to being passed.
  6
               Q.     Okay.     If you could turn to page 10 of
  7
      the document.
  8
                      Actually, my apologies.
  9
                      Before we go to page 10, just to stay on
10
      the first page for a moment, AB 442 was designed
11
      to implement portions of the 2002/2003 State
12
      budget; correct?
13
               A.     That is correct.
14
               Q.     If you could go to page 10.
15
               A.     Yes.
16
               Q.     Bottom of page 10 there's -- appears to
17
      be a summary of Section 73 of the bill.
18
                      This summary says "This section would
19
      change the estimated acquisition cost of drugs
20
      from AWP-5 percent to AWP-10 percent and would
21
      eliminate the use of direct price in the
22
      calculation of EAC, or Estimated Acquisition

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                                                                           Page 178
  1
                      You know, there was a -- it wasn't
  2
      necessarily the Department's compromise.
  3
                      It was done as a -- part of the
  4
      legislative process, and -- this was explaining to
  5
      the Governor's Office and the Governor why they
  6
      should accept the compromise.
  7
               Q.     Would you turn back to the third
  8
      paragraph there on page 93.
  9
                      The final sentence says, "In recognition
10
      of CPhA's contentions, the DHS modified the
11
      original May Revision proposal to AWP-10 percent
12
      for all drugs;" correct?
13
               A.     That's right.
14
               Q.     Doesn't that suggest that the Department
15
      itself did compromise in its original proposal?
16
                      MR. PAUL:       Objection to form.
17
                      THE WITNESS:        Yeah.      As I said, it was a
18
      compromise.
19
                      You know, we negotiated this between the
20
      legislative staff and the stakeholders.
21
      BY MR. GANDESHA:
22
               Q.     And in this document the Department is

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                                                                           Page 179
  1
      recommending that the Governor not veto Section
  2
      73; correct?
  3
               A.     Well, recommending he not veto the
  4
      entire bill.
  5
                      With the trailer bill he does not have
  6
      line item veto, so he either signs the entire bill
  7
      or vetoes the entire bill.
  8
               Q.     And that would include Section 73?
  9
               A.     That's right.
10
               Q.     As a result Section 73 became law in
11
      California; is that right?
12
               A.     That's correct.
13
               Q.     And among other things the reimbursement
14
      rate was changed from AWP-5 percent to AWP-10
15
      percent; correct?
16
               A.     That's correct.
17
                      And I believe we also eliminated the --
18
      direct pricing here, but I'm not positive.
19
               Q.     I think, if you turn back to page 92, --
20
               A.     I can't remember if this is where we
21
      eliminated drug pricing or not.
22
                      Yeah, it did eliminate drug pricing.

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